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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF LOUISIANA

 DR. DOROTHY NAIRNE, JARRETT
 LOFTON, REV. CLEE EARNEST LOWE,
 DR. ALICE WASHINGTON, STEVEN
 HARRIS, ALEXIS CALHOUN, BLACK
 VOTERS MATTER CAPACITY BUILDING
 INSTITUTE, and THE LOUISIANA STATE
 CONFERENCE OF THE NAACP,           Civil Action No. 3:22-CV-00178-SDD-SDJ

                         Plaintiffs,                   Chief Judge Shelly D. Dick

 v.                                                    Magistrate Judge Scott D. Johnson

 R. KYLE ARDOIN, in his official capacity as
 Secretary of State of Louisiana,

                         Defendant.


        NOTICE OF DEFENDANTS’ JOINT POSITION ON TRIAL SCHEDULE

       NOW COME Defendant R. Kyle Ardoin, in his official capacity as Secretary of State of

Louisiana, and Intervenor-Defendants, the State of Louisiana through the Attorney General, and

Speaker of the House Clay Schexnayder; and President of the Senate Patrick Page Cortez

(collectively, “Defendants”) and, per this Court’s request in the June 21, 2023, status conference,

submit the following notice regarding Defendants position on the trial schedule.

       During the status conference of June 21, 2023, the Court provided the parties with only

two options for a trial date in this matter. The Court requested the parties to identify their preferred

dates by the close of business today. While the Defendants prefer the November 27 trial date over

the November 6 trial date identified during the status conference, Defendants have serious

reservations about any trial date in November and believe a trial in January 2024, as originally

proposed by Plaintiffs, is more appropriate, for the following reasons:




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   1. To the extent that the rationale for a November trial is the potential for a special election

for the fall of 2024 based on revised districts, such remedy is effectively foreclosed by Supreme

Court precedent. North Carolina v. Covington, 581 U.S. 486 (2017), summarily and unanimously

rejected a three-judge court’s order mandating a special election and cutting legislators’ term

lengths short, even though the Supreme Court the same day summarily affirmed the underlying

order finding that dozens of legislative districts had been configured with invidious discriminatory

intent. See id. at 486–87 & n.*. The Court declined to decide whether special elections and

truncated terms are ever “a proper remedy,” but held that, if they are, “there is much for a court to

weigh.” Id. at 486. It explained that “obvious considerations include the severity and nature of the

particular constitutional violation, the extent of the likely disruption to the ordinary processes of

governance if early elections are imposed, and the need to act with proper judicial restraint when

intruding on state sovereignty.” Id. at 488. Needless to say, special elections are not automatic just

because “Plaintiffs first seek pre-election relief and were denied.” Doc. 89 at 2. Here, there are no

constitutional claims, and the Covington decision so strongly militates against the possibility of

such a special election that it should not be a consideration in setting the trial date. The next

legislative elections occur in the Fall of 2027 so expedition of two or three months (the difference

between a November 2023 trial and a January 2024 trial) is not warranted. There is simply no

realistic prospect of a special election and hence no need to rush the trial.

   2. Currently, Louisiana’s Gubernatorial Primary election is scheduled for October 14 and the

Gubernatorial General election is scheduled for November 18. La. R.S. 18:402. See also

https://www.sos.la.gov/ElectionsAndVoting/PublishedDocuments/ElectionsCalendar2023.pdf

Virtually all elections for statewide office are tied to the gubernatorial election by constitution or

statute, as are a substantial number of parish and local elections. As of now, there are at least 1,152



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elections scheduled for the October and November elections in Louisiana. The primary elections

occur on October 14, 2023, with the general on November 18, 2023. Election officials, particularly

the Louisiana Secretary of State and the 64 parish registrars of voters, must prepare ballots for the

primary and then the general election. And of course, military and overseas ballots must be mailed

well ahead of primary and as soon as the ballot can be prepared prior to the general. Early voting

must be held prior to the primary and the general elections. Early voting for the November 18

general election is scheduled between November 3 and November 11, 2023. The interim between

the primary and the general is the busiest and most time intensive time period for state and parish

election officials. To attempt a trial paralleling the elections is a virtual impossibility for the

Secretary of State, his office legal counsel, and his staff. Preparing for a trial during the election

period would take the election officials away from their election responsibilities and so disrupt the

ordinary election process that the effect would risk the integrity of the election.

       3. The proposed trial dates conflict with the State’s ability to obtain witness testimony from

election officials, including the Louisiana Secretary of State, the Commissioner of Elections,

Registrars of Voters, and Clerks of Court. The proposed trial dates would likely hamper the ability

of the State to obtain witness testimony of those running for these legislative offices, who may

also be called to testify. Candidates for the same offices whose districts are at issue cannot

reasonably be called upon to testify in discovery in the midst of a campaign. The election officials

who may be called have numerous responsibilities in the Election Code. For example, Early Voting

for the November 18 election occurs from November 3 to November 11, 2023. Early voting is

conducted by the registrars of voters. La. R.S. 18:1309. They are assisted by the Secretary of State

as the state’s chief election official. Also, during this time period, the registrars of voters are

preparing, sending, and receiving absentee by mail ballots. La. R.S. 18:1308.



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       4. After both the primary and the general election, recounts of ballots may be requested.

Such recounts must take place the fifth day after the election. La. R.S. 18:1313(K); La. R.S.

18:1313.1(L). For the November 18 election, such recount would take place on November 23.

Also following an election, a candidate may contest the election. La. R.S. 18:1401. Such a contest

must be filed within nine days of the election. La. R.S. 18:1405(B). The contest must be tried

within four days after filing of the suit. La. R.S. 18:1409(A)(1). For the October 14 election, this

means election contests must be filed by October 23, with trials on the contests beginning October

27. For the November 18 election, this means the election contest must be filed on November 27

with contest trials beginning on December 1. The Louisiana Election Code further provides

deadlines for appeals, which take days beyond the hearing of the contest. La. R.S. 18:1409. The

Attorney General is statutorily designated counsel for the registrars and in those instances in which

the registrar is involved in the election contest, knowledgeable counsel from the Attorney General

must attend the election contest trial. La. R.S. 18:64.

       5. As the State’s chief election official, the Secretary of State and his staff are involved in

every process of the election, from the creation of ballots to the promulgation of results. See Title

18 of the Louisiana Revised Statutes. The Secretary of State’s staff is consumed with the numerous

responsibilities in the Election Code that only he and his staff can administer. A list of the election

duties required by the Secretary’s staff in November and December is attached as Exhibit 1 and it

is voluminous.

       6. In addition to the burden a trial in November would place on necessary witnesses,

undersigned counsel for the Attorney General also has responsibilities pursuant to the Election

Code. The Attorney General serves as legal advisor to all Registrars of Voters and Parish Boards

of Election Supervisors. La. R.S. 18:64; La. R.S. 18:423(G). Undersigned counsel must be



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available to advise and represent these officials when called upon in the course of their numerous

duties. The Secretary of State’s counsel is likewise consumed with a litany of legal questions that

arise during the administration of the elections.

       7. Finally, a November trial setting might not yield the beneficial results the Court expects.

Under Purcell, the United States Supreme Court has indicated that results of elections that occur

while a voting case is pending can be useful in reaching the correct legal decision by the Court.

Purcell v. Gonzalez, 549 U.S. 1, 8 (2006). Particularly, Justice Stevens noted in his concurrence

that allowing an election to proceed will allow the statutory provisions at issue provides the courts

with a better record with which to render a decision. Id. A January trial date would allow the

election results from October and November of 2023 to be used in the analyses required in Gingles,

including whether there is evidence of district specific legally significant racially polarized voting

in the enacted districts and Plaintiffs’ Illustrative Districts. Here, the election results from the

November 2023 elections will not be sufficiently final by the time of a November 27 trial that the

Court could use them to assist in ultimately reaching the correct decision here.1 A trial in January

2024 would allow full use of fulsome election data to analyze the legal theories plaintiffs have

asserted.

Respectfully Submitted,

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  In fact, supplemental briefing and even a supplemental hearing may be required to fully account
for any new evidence the October and November 2023 election results produce.
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